                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                    3:06CV18-1-MU
                                    3:91CR86-3-MU




CLYNTON J. CHASE,                   )
                                    )
            Petitioner,             )
                                    )
            v.                      )                       ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)


       THIS MATTER is before this Court upon Petitioner’s Motion to Stay and Abey, filed

January 10, 2006.

       On May 20, 1992, Petitioner pled guilty to violating 21 U.S.C. § 848. On July 15, 1992,

the Court sentenced Petitioner to natural life imprisonment. Judgment was entered on August

27, 1992. Petitioner did not appeal his sentence and conviction. On June 7, 2001, Petitioner

filed a motion to vacate, set aside, or correct sentence which was denied on July 27, 2001. On or

about February 25, 2002, the United States Court of Appeals affirmed this Court’s dismissal.

       Petitioner has now filed a Motion to Stay and Abey stating that the United States v.

Booker, 125 S. Ct. 738 (2005) and Blakely v. Washington, 124 S. Ct. 2531 (2004) favorably

impact his case because this Court impermissibly increased his sentence based upon facts not

found by a jury. Furthermore, Petitioner argues that the Booker and Blakely cases should apply




        Case 3:91-cr-00086-GCM          Document 2       Filed 02/03/06      Page 1 of 3
retroactively on collateral review.1

           While Petitioner requests a stay, he has no pending action to stay. Moreover, a review

of Petitioner’s filing reveals that Petitioner’s motion in which he is arguing that his sentence was

unlawful is most properly construed2 as a motion to vacate, set aside, or correct sentence pursuant

to 28 U.S.C. § 2255.3 However, under the Antiterrorism and Effective Death Penalty Act

(AEDPA), "a second or successive motion must be certified . . . by a panel of the appropriate

court of appeals. . ." 28 U.S.C. § 2255 (1997). Therefore, because this is Petitioner’s second

motion to vacate, set aside, or correct sentence, he must first certify his claim with the United

States Court of Appeals for the Fourth Circuit.




       1
          Notwithstanding Petitioner’s assertion to the contrary, the Fourth Circuit recently held
that the rule announced in Booker was not a watershed rule warranting retroactive application.
United States v. Morris, 429 F.3d 65, 2005 WL 2950732, *6 (4th Cir.2005)(criminal defendant
unable to raise Blakely or Booker claim for the first time in §2255 petition when judgment of
conviction became final before the Supreme Court decided Booker).
       2
         Petitioner cites to Rule 201(d) of the Federal Rules of Evidence as support for his
contention that this Court must take judicial notice of the Booker and Blakely cases and their
impact on his criminal sentence. Suffice it to say that Rule 201(d) simply does not apply to long-
closed criminal cases.
       3
          This Court finds that the Court of Appeals for the Fourth Circuit’s recent decision in
United States v. Emmanuel, 288 F.3d 644 (4th Cir. 2002), is distinguishable because, unlike in
the Emmanuel case, this would not be Petitioner’s first § 2255 motion. Id. at 650 (no notice
required where recharacterization has no adverse impact on movant).

                                                  2


        Case 3:91-cr-00086-GCM            Document 2        Filed 02/03/06      Page 2 of 3
       THEREFORE, IT IS HEREBY ORDERED that Petitioner's Motion Pursuant to Stay

and Abey which this Court has construed as a Motion to Vacate, Set Aside, or Correct Sentence,

is DISMISSED without prejudice as successive.



                                                   Signed: February 3, 2006




                                              3


       Case 3:91-cr-00086-GCM          Document 2      Filed 02/03/06     Page 3 of 3
